                              Case 3:20-cv-00784-KAD Document 54 Filed 12/02/20 Page 1 of 1
                                                                                                                Civil- (Dec-2008)
                                                                HONORABLE:   Kari A. Dooley
                                     DEPUTY CLERK Kristen Gould               RPTR/ECRO/TAPE Tracy Gow
         TOTAL TIME:                  hours 36   minutes
                                        DATE:  12/02/2020     START TIME: 2:01pm         END TIME: 2:37pm
                                                           LUNCH RECESS         FROM:             TO:
                                                   RECESS (if more than ½ hr)   FROM:             TO:

         CIVIL NO. 3:20-cv-00784-KAD


                      Metzner et al                                                Daniel Kurowski; Craig A. Raabe
                                                                                          Plaintiff’s Counsel
                                        vs
                      Quinnipiac University                                        Edward Heath, D. Brody, E. Leong
                                                                                          Defendant’s Counsel Wystan
                                                                                                              Ackerman
                                                 COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing                       Show Cause Hearing
                                Evidentiary Hearing                Judgment Debtor Exam
                                Miscellaneous Hearing

         ✔ .....# 35        Motion to Dismiss                                         granted      denied ✔ advisement
             .....#         Motion                                                    granted      denied       advisement
             .....#         Motion                                                    granted      denied       advisement
             .....#         Motion                                                    granted      denied       advisement
             .....#         Motion                                                    granted      denied       advisement
            .....#          Motion                                                    granted      denied       advisement
            .....#          Motion                                                    granted      denied       advisement
            .....           Oral Motion                                               granted      denied       advisement
            .....           Oral Motion                                               granted      denied       advisement
            .....           Oral Motion                                               granted      denied       advisement
           .....            Oral Motion                                               granted      denied       advisement
            .....              Briefs(s) due               Proposed Findings due                Response due
           .............                                                                                filed   docketed
           .............                                                                                filed   docketed
           .............                                                                                filed   docketed
           .............                                                                                filed    docketed
            .............                                                                               filed   docketed
            .............                                                                               filed   docketed
            ............                         Hearing continued until                           at

Notes:
